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16
17                                 UNITED STATES DISTRICT COURT

18                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                        SAN FRANCISCO DIVISION

20    FEDERAL TRADE COMMISSION,                          Case No. 3:23-cv-02880-JSC

21           Plaintiff,                                  DEFENDANTS’ FIRST AMENDED
                                                         STATEMENT OF WITNESSES AND
22    v.                                                 EVIDENCE FOR JUNE 22, 2023,
                                                         PURSUANT TO COURT ORDER (ECF NO.
23
      MICROSOFT CORPORATION and                          170)
24    ACTIVISION BLIZZARD, INC.,

25           Defendants.                                 Dept.:    Courtroom 8—19th Floor
                                                         Judge:    Honorable Jacqueline S. Corley
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     DEFS.’ FIRST AM. STATEMENT OF WITNESSES                         CASE NO. 3:23-CV-02880-JSC
     AND EVIDENCE FOR JUNE 22, 2023
          Case 3:23-cv-02880-JSC Document 185 Filed 06/22/23 Page 2 of 4




 1          Pursuant to the Court’s Order Following June 21, 2023 Status Conference (ECF No. 170)

 2   (“Order”), Defendants Microsoft Corp. (“Microsoft”) and Activision Blizzard, Inc. (“Activision”) file

 3   this First Amended Statement Of Witnesses And Evidence and write to inform the Court that Defendants

 4   will call Matt Booty and Sarah Bond as witnesses on Thursday, June 22, 2023. Defendants understand

 5   that Plaintiff Federal Trade Commission (“FTC”) intends to call Pete Hines as a witness.

 6          Defendants intend to use the following exhibits with these witnesses:

 7        Witness             Exhibit        Declaration in Support of Cross-Reference
                                             Sealing the Exhibit 1
 8        Matt Booty            RX5045                   N/A                 N/A
 9        Sarah Bond            RX1184            ECF No. 150 at 45                  N/A
10                              RX1196                    N/A                 ECF No. 111, Ex.
11                                                                                    70
12                              RX1211            ECF No. 150 at 47                  N/A
13                              RX1212                    N/A                 ECF No. 111, Ex.
14                                                                                    37
15                              RX3019            ECF No. 150 at 46           ECF No. 111, Ex.
16                                                                                    38
17                             RX1221 2          Amended declaration                 N/A
18                                                  forthcoming
                               RX1222 3          Amended declaration                 N/A
19                                                  forthcoming

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21
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23          1
               Defendants do not seek to seal the exhibits that are listed here without citation to a supporting
     declaration.
24           2
               Defendants previously cited RX3024 in their Statement Of Witnesses And Evidence For June
25   22, 2023, Pursuant To Court Order (ECF No. 170), ECF No. 174. RX3024 is a duplicate version of
     RX1221, cited above. Confidential treatment was previously sought for this document. ECF No. 150 at
26   47 (citing RX1221).
             3
               Defendants previously cited RX3025 in their Statement Of Witnesses And Evidence For June
27   22, 2023, Pursuant To Court Order (ECF No. 170), ECF No. 174. RX3025 is a duplicate version of
     RX1222, cited above. Confidential treatment was previously sought for this document. ECF No. 150 at
28   47 (citing RX1222).
     DEFS.’ FIRST AM. STATEMENT OF WITNESSES                  2                 CASE NO. 3:23-CV-02880-JSC
     AND EVIDENCE FOR JUNE 22, 2023
          Case 3:23-cv-02880-JSC Document 185 Filed 06/22/23 Page 3 of 4




 1
                              RX3027           ECF No. 150 at 48               N/A
 2
                             RX1245 4        Amended declaration               N/A
 3                                              forthcoming
                              RX5044                N/A                        N/A
 4
         Pete Hines             N/A                   N/A                      N/A
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              Defendants previously cited RX3028 in their Statement Of Witnesses And Evidence For June
27   22, 2023, Pursuant To Court Order (ECF No. 170), ECF No. 174. RX3028 is a duplicate version of
     RX1245, cited above. Confidential treatment was previously sought for this document. ECF No. 150 at
28   50 (citing RX1245).
     DEFS.’ FIRST AM. STATEMENT OF WITNESSES                3             CASE NO. 3:23-CV-02880-JSC
     AND EVIDENCE FOR JUNE 22, 2023
          Case 3:23-cv-02880-JSC Document 185 Filed 06/22/23 Page 4 of 4




 1   Dated: June 22, 2023                               Respectfully submitted,

 2
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     DEFS.’ FIRST AM. STATEMENT OF WITNESSES               4               CASE NO. 3:23-CV-02880-JSC
     AND EVIDENCE FOR JUNE 22, 2023
